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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER GRANTING
                                                                         10   This Order Relates To:                  )   ADMINISTRATIVE MOTIONS FOR
                               For the Northern District of California
United States District Court




                                                                                                                      )   LEAVE TO FILE UNDER SEAL
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
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                                                                         18           Now before the Court are 32 administrative motions for leave
                                                                         19   to file under seal documents largely related to motions in limine.
                                                                         20   See ECF Nos. 3643, 3644, 3648, 3650, 3651, 3667, 3672, 3676, 3678,
                                                                         21   3682, 3683, 3688, 3690, 3694, 3695, 3696, 3698, 3701, 3703, 3705,
                                                                         22   3708, 3712, 3744, 3752, 3754, 3757, 3762, 3766, 3771, 3772, 3773,
                                                                         23   3778.    As the Court has ordered previously, the motions are GRANTED
                                                                         24   with the proviso that "the Court will look favorably upon motions
                                                                         25   ///
                                                                         26   ///
                                                                         27   ///
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                                                                               Case 3:07-cv-05944-JST Document 3795 Filed 03/24/15 Page 2 of 2




                                                                          1   to intervene filed by members of the public who wish to access the
                                                                          2   sealed documents."    ECF No. 1512, at 1.
                                                                          3
                                                                          4        IT IS SO ORDERED.
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                                                                          6        Dated: March 24, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California
United States District Court




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